WAYMO LLC,

                                                   3:17-cv-00939-WHA




UBER TECHNOLOGIES, INC.,
OTTOMOTTO LLC; OTTO TRUCKING LLC,




           Terri L. Mascherin
the Illinois Supreme Court and
U.S. Court of Appeals, 7th Circuit
                                     Uber Technologies, Inc.
                                                   Debra Grassgreen




 Jenner & Block LLP                          Pachulski Stang Ziehl & Jones
 353 North Clark Street                      150 North California Street, 15th Floor
 Chicago, Illinois 60654-3456                San Francisco, California 94111-4500

 (312) 923-2799                               (415) 217-5102

  tmascherin@jenner.com                       dgrassgreen@pszjlaw.com


                                                                               6187735




          October 27, 2020                     /s/ Terri L. Mascherin




                                                   Terri L. Mascherin




          October 28, 2020
